
This matter have been duly presented pursuant to Rule 1:20-10(b), following a granting of a motion for discipline by consent *468in **309DRB 18-169 of LINDA M. DeBRANGO, a/k/a LINDA M. DeBRANGO-BERENGUER, formerly of EDISON, who was admitted to the bar of this State in 1987;
And the District VIII Ethics Committee and respondent having signed a stipulation of discipline by consent in which it was agreed that respondent violated RPC 1.1(a) (gross neglect);
And the parties having agreed that respondent's conduct violated RPC 1.1(a), and that said conduct warrants a reprimand or lesser discipline;
And the Disciplinary Review Board having determined that a reprimand is the appropriate discipline for respondent's unethical conduct and having granted the motion for discipline by consent in District Docket No. VIII-2014-0032E;
And the Disciplinary Review Board having submitted the record of the proceedings to the Clerk of the Supreme Court for the entry of an order of discipline in accordance with Rule 1:20-16 (e);
And good cause appearing;
It is ORDERED that LINDA M. DeBRANGO , a/k/a LINDA M. DeBRANGO-BERENGUER , formerly of EDISON , is hereby reprimanded; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
